Case 18-16779-elf     Doc 32-1 Filed 09/10/20 Entered 09/10/20 12:24:43                Desc
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                IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In Re:                                           : Bankruptcy No. 18-16779-AMC
 Craig R. Fulton                                  : Chapter 13
                        Debtor                    :
                                                  :
 First Guaranty Mortgage Corporation c/o          :
 Rushmore Loan Management Services, LLC           :
                      Movant                      :
                vs.                               :
                                                  :
 Craig R. Fulton and Erneyka Fulton (Non-         :
 filing Co-Debtor)                                :
                       Debtor/Respondent          :
                                                  :
                and                               :
                                                  :
 William C. Miller, Esquire                       :
                       Trustee/Respondent         :


                                         ORDER

        AND NOW, this ____ day of ___________________, 2020, upon the Motion of
 Movant, First Guaranty Mortgage Corporation c/o Rushmore Loan Management
 Services, LLC, it is hereby:

         ORDERED THAT: the Motion is granted, and the Automatic Stay and Co-Debtor
 Stay of all proceedings, as provided under 11 U.S.C. § 362 and § 1301 of the Bankruptcy
 Code is modified and lifted with respect to the premises, 168 Sparks Street, Philadelphia,
 PA 19120.


                                         ____________________________________
                                             Honorable Ashely M. Chan
                                             United States Bankruptcy Judge
